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2    1007 7th Street, Suite 319
     Sacramento, CA 95814
3    Telephone: 916-442-5230
4    Attorney for:
     CUONG HOANG
5
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )       CASE NO. 2:10-CR-00168-JAM
                                   )
12                  Plaintiff,     )       STIPULATION AND ORDER EXTENDING
                                   )       DUE DATE FOR SECURED BOND
13        v.                       )
                                   )
14   CUONG HOANG, et. al,          )       COURT:    Hon. Kimberly J. Mueller
                                   )
15                  Defendants.    )
     ______________________________)
16
                                     Stipulation
17
           The parties, through undersigned counsel, stipulate that the due
18
     date for defendant CUONG HOANG to obtain and file an appearance bond
19
     secured with $50,000, of home equity, may be extended from June 18,
20
     2010, to June 25, 2010.
21
           The defense has provided the prosecution with a copy of an
22
     “Agreement to Forfeit Property” executed by the homeowners and a
23
     “Property Bond Mortgage” creating the lien on the subject property.
24
     However, the “Agreement to Forfeit Property” must also be executed by
25
     the   defendant,    CUONG   HOANG.    The   Federally-Certified        Cantonese
26
     interpreter, Richard Shek, is serving jury duty and has been unable to
27
     meet with CUONG HOANG to translate the “Agreement to Forfeit Property”
28

                                           1
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1    prior to execution.      As such, the additional time requested is
2    necessary to have the document translated to CUONG HOANG.
3         The prosecutor has authorized defense counsel to sign this
4    stipulation on his behalf.
5    DATED: June 17, 2010             BENJAMIN WAGNER
                                      United States Attorney
6
7                               by    /s/ Scott Cameron, for
                                      Todd Leras
8                                     Assistant U.S. Attorney
9
     DATED: June 17, 2010             by   /s/ Scott N. Cameron
10                                    Scott N. Cameron
                                      Counsel for CUONG HOANG
11
12                                      Order
13        Good cause appearing,
14        The due date for defendant CUONG HOANG to obtain and file an
15   appearance bond secured with $50,000, of home equity, is extended to
16   June 25, 2010.
17
18        IT IS SO ORDERED.
19
20   DATED: June 17, 2010
21
22
23
24
25
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27
28

                                          2
